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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
JPL                                                 271 Cadman Plaza East
F. #2018R00035                                      Brooklyn, New York 11201



                                                    November 1, 2023

By ECF and E-mail

The Honorable Margo K. Brodie
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Steven Nerayoff
                      Criminal Docket No. 20-008 (MKB)

Dear Judge Brodie:

               The government writes, having conferred with defense counsel, in connection
with the defendant Steven Nerayoff’s motions to unseal: (1) the exhibits submitted in support of
his motion to dismiss; and (2) the motion papers and decision related to ex parte subpoenas
issued by the Court. See ECF Dkt. 123, at 18 n.10 (directing the parties to confer and propose
redactions).

               With respect to the motion to dismiss, Nerayoff withdraws his request to unseal
certain documents for refiling with redactions because redacted copies of those documents are
already publicly filed on ECF. See ECF Dkt. 105.

                With respect to the motion papers and decision related to the ex parte subpoenas,
the parties have enclosed copies of (a) the Court’s July 13, 2022 Memorandum and Order
denying in part and granting in part Nerayoff’s ex parte subpoena request (the “Order”), (b)
Nerayoff’s July 27, 2022 letter in response to the Order setting forth additional reasons why the
requested subpoena should be issued, (c) Nerayoff’s October 4, 2022 letter enclosing a copy of
the Order and a proposed rewritten subpoena, and (d) the October 18, 2022 subpoena as
authorized by the Court. These copies contain proposed redactions of these documents as agreed
upon between the parties. If the proposed redactions are acceptable to the Court, the parties
jointly and respectfully request that the Court file these redacted copies on the public docket.
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               As indicated above, we have conferred with defense counsel about these matters,
who joins in this application in all respects.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:                   /s/
                                                   Jonathan P. Lax
                                                   John O. Enright
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

Enclosures (by e-mail)

cc:    Michael A. Scotto, Esq. (by ECF and e-mail)




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